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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                       FILED PARTIALLY UNDER SEAL
UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 1:23-CR-118-1 (AT)
                v.
                                                       DECLARATION OF MATTHEW
HO WAN KWOK,                                           S. BARKAN ACCOMPANYING
                                                       DEFENDANT’S RENEWED
                       Defendant.                      MOTION TO STAY BANKRUPTCY
                                                       CASES AND MOTION FOR
                                                       RECONSIDERATION



       I, MATTHEW S. BARKAN, hereby declare, pursuant to 28 U.S.C. § 1746, as follows:

       1.      I am a partner at the law firm Pryor Cashman LLP and counsel for Defendant Ho

Wan Kwok in the above-captioned matter.

       2.      I submit this declaration in support of Defendant’s Renewed Motion to Stay

Bankruptcy Cases and Motion for Reconsideration and to transmit to the Court true and correct

copies of the following documents.

       3.      A true and correct copy of the Individual Debtor’s Objection to Motion for Order

Authorizing (a) Chapter 11 Trustee to Use Potentially Privileged Documents in Bombardier

Adversary Proceeding on a Sealed Basis Without Waiver of Privilege or, Alternatively, (b) Limited

Waiver of Trustee Privilege as to Subject Matter of Bombardier and Bombardier Proceeds

submitted by Mr. Kwok in the bankruptcy proceedings captioned In re Ho Wan Kwok, et al., Case

No. 22-50073 (JAM) (Bankr. D. Conn.) (Jointly Administered), on December 13, 2023 is attached

hereto as Exhibit A.
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       4.      A true and correct copy of an Affidavit in Support of Seizure Warrant produced by

the government at USAO_00107385 is attached hereto as Exhibit B.



       I declare under penalty of perjury that the foregoing is true and correct.




Executed on January 4, 2024.
                                                             Matthew S. Barkan
                                                             Counsel for Defendant
                                                             Ho Wan Kwok




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